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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA )
                         )
v.                       )
                         )                     CRIMINAL NO. 18-CR-10013-RGS
GARY P. DECICCO and      )
PAMELA M. AVEDISIAN,     )
           Defendants    )
                         )




                            DEFENDANT GARY DECICCO’S
                        MOTION TO MODIFY CONDITIONS OF BAIL



       Defendant Gary DeCicco hereby moves this Court to modify his conditions of bail to

allow him to leave his home from 7 a.m. to 6 p.m. daily. Currently he is permitted to leave from

9 a.m. to 4 p.m. daily. Since the Court set the new curfew on March 29, 2019, Mr. DeCicco has

been in compliance with all of the terms of his release.

       As grounds for this Motion for a limited extension of the hours that he may leave his

home, Mr. DeCicco states that he needs to work longer hours at his marina. Now that it is

warmer, more of Mr. DeCicco’s customers at the marina want to bring their boats in and out of

the marina. Their ability to do so is often dependent on high tides, which often come in before 9

a.m. or after 4 p.m. If he is unable to service his customers, the customers will go elsewhere,

resulting in the loss of much needed income to Mr. DeCicco.

       In addition, the docks at the marina suffered extensive damage during the past winter and

are in need of repairs. The repairs will be done or overseen by Mr. DeCicco. To the extent that
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third party companies in the construction industry are needed, they often begin at 7 a.m. Mr.

DeCicco would need to be present to oversee their work and address any issues in real time.

       Counsel for Mr. DeCicco has consulted Assistant U.S. Attorney Kristiana Barclay as

required by the Local Rule. AUSA Barclay does not assent to this Motion.




                                                    Respectfully submitted,
                                                    GARY DECICCO
                                                    By his attorneys,
                                                    /s/ Tracy A. Miner
                                                    Tracy A. Miner (BBO No. 547137)
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                                CERTIFICATE OF SERVICE


      I hereby certify that the foregoing document was served by ECF on counsel for the
Government on April 23, 2019.


                                             /s/ Tracy A. Miner
                                             Tracy A. Miner
